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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :       Case No. 1:22-cr-00261-001(CRC)
         v.                                    :
                                               :
TRUDY CASTLE,                                  :
                                               :
                 Defendant                     :

                     GOVERNMENT’S SENTENCING MEMORANDUM

         The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Defendant Trudy Castle to 30 days’ incarceration, 36 months’ probation, 60 hours

of community service, and $500 in restitution.

    I.        Introduction

         Defendant Trudy Castle, a 57-year-old property manager, along with her codefendant and

sister, Kimberly DiFrancesco (who is scheduled to be sentenced simultaneously), participated in

the January 6, 2021 attack on the United States Capitol—a violent attack that forced an interruption

of Congress’s certification of the 2020 Electoral College vote count, threatened the peaceful

transfer of power after the 2020 Presidential election, injured more than one hundred police

officers, and resulted in more than 2.8 million dollars’ in losses. 1




1
  Although the Statement of Offense in this matter, filed on August 17, 2022, (ECF No. 28 at ¶ 6)
reflects a sum of more than $2.7 million dollars for repairs, as of October 17, 2022, the approximate
losses suffered as a result of the siege at the United States Capitol was $ $2,881,360.20. That
amount reflects, among other things, damage to the United States Capitol building and grounds
and certain costs borne by the United States Capitol Police.


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       Defendant Castle pleaded guilty to one count of violating 40 U.S.C. § 5104(e)(2)(G). As

explained herein, a sentence of 30 days’ incarceration, 36 months’ probation, 60 hours of

community service, and $500 in restitution is appropriate in this case because: (1) Defendant likely

saw violence outside before entering the Capitol building, and observed police presence both

around and inside of the Capitol building; (2) she entered the Capitol through the Senate Wing

Door only minutes after the first rioters breached the Capitol building through a broken window

next to that same door; (3) she stayed inside the Capitol building for almost 40 minutes, entering

various locations throughout the building both downstairs and upstairs; (4) while parading through

the halls of the Capitol she took photos and left only after officers began using tear gas to clear

rioters from the building; (5) even after she exited the Capitol she stood outside of the Capitol

building and remained on restricted grounds for over an hour; and (6) she removed evidence from

her phone after the event.

       Prior to entering the U.S. Capitol on January 6, Castle and DiFrancesco drove from

Chicago, Illinois to Washington, D.C., to protest Congress’ certification of the Electoral College.

On January 6, Castle and DiFrancesco advanced on the Capitol, entering through the Senate Wing

Door minutes after an adjacent window was first breached by a rioter smashing through it with a

stolen riot shield. They walked past the shattered window and penetrated the U.S. Capitol building.

Undeterred by that behavior, they continued deeper into the U.S. Capitol walking upstairs and

downstairs to the Visitor Center, the first-floor lobby, and the Crypt, until they were tear gassed

and exited the building. After exiting, they waited outside of the Capitol on restricted grounds and

are seen walking up to the Capitol again as if they were going to enter a second time.

       The Court must also consider that the defendant’s conduct on January 6, like the conduct

of scores of other defendants, took place in the context of a large and violent riot that relied on



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numbers to overwhelm police, breach the Capitol, and disrupt the proceedings. But for her actions

alongside so many others, the riot likely would have failed. Here, the defendant’s participation in

a riot that succeeded in halting the Congressional certification, combined with the facts that: the

defendant entered the Capitol building after observing police presence outside of the building; she

stayed almost 40 minutes in the Capitol building entering various locations and taking photographs

while alarms were ringing; and she left the building only after getting tear gassed, renders a jail

sentence and a lengthy period of probation both necessary and appropriate in this case.

    II.      Factual and Procedural Background

                            The January 6, 2021, Attack on the Capitol

          To avoid unnecessary exposition, the government refers to the general summary of the

attack on the U.S. Capitol. See ECF 28 (Statement of Offense), at 1-7.

               Defendant Castle’s Role in the January 6, 2021, Attack on the Capitol

          On January 5, 2021, Trudy Castle and Kimberly DiFrancesco drove to Washington, D.C.,

from their homes in Illinois to attend the “Stop the Steal” rally. Castle’s adult son also drove with

them. The purpose of their trip was to protest Congress’ certification of the Electoral College. See

ECF 28 at ¶ 8. On January 6, 2021, Castle and her family members walked with other protestors

from the rally to the U.S. Capitol. They approached the building from the west side, and, at

approximately 2:19 p.m., made their way to the Upper West Terrace, part of the restricted area of

the Capitol. At around 2:24 p.m., Castle entered the Capitol building though the Senate Wing Door,

which had first been breached by rioters breaking the window adjacent to the door, just minutes

before she entered. 2 Additionally, there were people entering through the adjacent window as she



2
 Attached please find a video labeled “Exh 1 – ProPublica,” which depicts what occurred
minutes before defendants entered the Senate Wing door and the sounds coming from the Senate
Wing Door once breached by rioters.
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entered, and the sound of the building’s alarms rang through the building as both Defendants

paraded through the Capitol. 3




       Castle is seen, in the above and below U.S. Capitol Police CCTV footage, wearing a white

jacket, dark pants, and a red, white, and blue knit “Trump” hat (in yellow box, above). DiFrancesco

is seen wearing a black jacket with a red hood and black hat (in red box, above). When Castle and

DiFrancesco entered, they did not submit to any security screening, but proceeded to walk through

the Capitol, to the North side and into the Visitor’s Center.




3
 Attached please find a video labeled, “Exh 2 – Senate Wing Door,” depicting both defendants
walking into the Capitol through the Senate Wing Door.
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       As Castle and her sister DiFrancesco paraded through the halls, defendant waved two small

American flags and her sister DiFrancesco carried a handheld radio to communicate with others.

Castle took photos while inside of the Capitol depicting police officers and other rioters. A small

number of photos and videos were recovered from Castle’s phone, including the one shown below:




       Soon after this live picture was taken above, Castle and DiFrancesco experienced police

tear gassing rioters. Only then did Castle and DiFrancesco decide to exit the building. Castle and


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DiFrancesco exited the Capitol at approximately 3:02 p.m., nearly 40 minutes after they initially

entered. After exiting the Capitol, Castle and DiFrancesco set up chairs on the Northwest

Courtyard Lawn and sat until 3:49 p.m (as shown below). Around approximately 3:49 p.m., Castle,

DiFrancesco, and Castle’s son approached the Senate Wing Door again, but they did not enter. At

4:21 p.m., Castle and her family walked away from the Senate Wing Door area. Castle and

DiFrancesco remained on the restricted grounds outside of the Capitol for more than one hour after

exiting the Capitol.




       According to Castle, who spoke to the Federal Bureau of Investigation (FBI) as a

requirement of her plea agreement (described further below), Castle admitted that they walked

through the scaffolding by the Upper West Terrace and entered the Capitol through the Senate

Wing Door. As they were approaching the Capitol and they saw police officers. Castle took a

picture of police, as seen below.




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       DiFrancesco also saw a rioter with blood coming from his head and took a picture of it, as

shown below. Castle and DiFrancesco were together while they were outside the Capitol building.




       Castle also admitted that they were tear gassed and decided to leave the building. Both

Castle and DiFrancesco have admitted that they knew at the time they entered the U.S. Capitol

Building that they did not have permission to do so, and they willfully and knowingly paraded,

demonstrated, and picketed inside the U.S. Capitol Building.
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                            Search of Castle’s Home and Cell Phone

       On June 1, 2022, at approximately 6:00 a.m. CST, FBI agents executed two search warrants

at the Defendant’s home. The FBI seized a cell phone that was on Castle’s person, a black handheld

radio, a red Trump hat (provided by Castle), and a white jacket (provided by Castle). Upon review

of the cell phone, the FBI found limited evidence of Castle’s participation in the events of January

6. They later found out, through an interview with Castle, that she deleted all photos and evidence

from her phone related to January 6 upon leaving the DC area. According to defendant, they

wanted to forget this event happened. FBI was able to retrieve 3 videos and 9 live photos from

Castle’s phone that were taken in or around the Capitol on January 6, 2021.

                            Castle’s Post-Plea Interview with the FBI

       On October 14, 2022, Castle gave an interview as part of her plea agreement to the FBI.

During her interview, Castle indicated that on January 5, 2021, she went to Washington, D.C. with

her sister DiFrancesco and her son. On January 6, 2021, they went to President Trump’s speech.

After the speech, Castle indicated that they walked to the Capitol. Defendant affirmed that the

pathway leading to the doors Castle entered the building through was blocked by the scaffolding

for the Inaugural platform. Castle indicated that she walked through the scaffolding. Castle also

stated in the interview that she observed police who looked like “power rangers” dressed in black

standing around the building, but they were not in front of the doors she and DiFrancesco entered.

However, upon review of the Castle’s cell phone, she took a picture of numerous police officers

standing next to the Capitol building.

       According to Castle, they walked inside the Capitol and went in further to try to get away

from the large group, to get warm, and to find a bathroom. Although they went in to use the

restroom, Castle ended up near a room labeled “House of Representatives” and she took a picture



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of it. Castle claimed that she was scared, wanted to get out of the building, and wanted to forget

about everything that happened that day. 4 However, it was only after she was tear gassed by police

that Castle decided to leave. And, after she exited, she and her sister sat in the Northwest Courtyard

Lawn on two foldable chairs. Castle told the FBI that they were waiting for her son. At

approximately 3:49 p.m., her son arrived but instead of leaving together, they all approached the

Senate Wing Door again and stayed there for an additional thirty minutes before leaving. Castle

claimed that she was confused with the U.S. Capitol layout and was unsure of which door they

exited. However, she acknowledged that she exited the same door she used to enter the Capitol.

Castle said that she knew it was wrong to be in there and deleted all photos that she took that day.

She claimed that she regretted her decision to go inside the Capitol and they cut their planned trip

short a day and went back to Illinois immediately after.

       Castle acknowledged that she knew at the time she entered the Capitol that she did not have

permission to enter the building and she paraded, demonstrated, or picketed inside the building.

                                 The Charges and Plea Agreement

       On May 27, 2022, the United States charged Castle by criminal complaint with violating

18 U.S.C. § 1752(a)(1); 18 U.S.C. § 1752(a)(2); 40 U.S.C. § 5104(e)(2)(D); and 40 U.S.C.

§ 5104(e)(2)(G). On June 1, 2022, law enforcement officers arrested her in Chicago, IL. On July

28, 2022, the United States charged Castle by a single-count Information with violating 40 U.S.C.

§ 5104(e)(2)(G). On August 17, 2022, pursuant to a plea agreement, Castle pleaded guilty to Count

One of the Information, charging her with a violation of 40 U.S.C. § 5104(e)(2)(G). By plea

agreement, Defendant agreed to pay $500 in restitution to the Department of the Treasury.



4
 Attached please find a video labeled “Exh – 3: Lobby,” from timestamp 12:30 to 15:30, which
depicts Castle and DiFrancesco walking in the hallway inside the Capitol (seen towards the
bottom of the screen) and using their phones to take photos and video of the rioters.
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   III.      Statutory Penalties

   Castle now faces a sentencing on a single count of violating 40 U.S.C. § 5104(e)(2)(G). As

noted by the plea agreement and the U.S. Probation Office, the defendant faces up to six months

of imprisonment and a fine of up to $5,000. The defendant must also pay restitution under the

terms of his or her plea agreement. See 18 U.S.C. § 3663(a)(3); United States v. Anderson, 545

F.3d 1072, 1078-79 (D.C. Cir. 2008). As this offense is a Class B Misdemeanor, the Sentencing

Guidelines do not apply to it. 18 U.S.C. § 3559; U.S.S.G. §1B1.9.

   IV.       Sentencing Factors Under 18 U.S.C. § 3553(a)

          In this misdemeanor case, sentencing is guided by 18 U.S.C. § 3553(a), which identifies

the factors a court must consider in formulating the sentence. Some of those factors include: the

nature and circumstances of the offense, § 3553(a)(1); the history and characteristics of the

defendant, id.; the need for the sentence to reflect the seriousness of the offense and promote

respect for the law, § 3553(a)(2)(A); the need for the sentence to afford adequate deterrence,

§ 3553(a)(2)(B); and the need to avoid unwarranted sentence disparities among defendants with

similar records who have been found guilty of similar conduct. § 3553(a)(6). In this case, as

described below, the Section 3553(a) factors weigh in favor of 30 days’ incarceration, 36 months’

probation, 60 hours of community service, and $500 in restitution.

             A. The Nature and Circumstances of the Offense

          The attack on the U.S. Capitol on January 6 posed a “grave danger to our democracy.”

United States v. Munchel, 991 F.3d 1273, 1284 (D.C. Cir. 2021). The attack “endangered hundreds

of federal officials in the Capitol complex,” including lawmakers who “cowered under chairs while

staffers blockaded themselves in offices, fearing physical attacks from the rioters.” United States

v. Judd, 21-cr-40, 2021 WL 6134590, at *5 (D.D.C. Dec. 28, 2021). While assessing Castle’s



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participation in that attack to fashion a just sentence, this Court should consider various

aggravating and mitigating factors. Notably, for a misdemeanor defendant like Castle, the absence

of violent or destructive acts is not a mitigating factor. Had Castle engaged in such conduct, she

would have faced additional criminal charges.

       One of the most important factors in Castle’s case is the fact that Castle stayed inside the

Capitol building for almost 40 minutes, took photos and videos, and remained on restricted

grounds, in the mob gathered right next to the building, for more than an hour after exiting the

Capitol building. In total, defendants stayed on Capitol grounds for more than two hours, including

inside of the Capitol and on the restricted grounds. Although Castle expressed remorse in her

statement, she also stated that she knew she was not supposed to be inside the Capitol at the time

she entered. Castle also entered the building merely minutes after the first breach of the Capitol,

where rioters smashed windows adjacent to the Senate Wing Door that Castle entered through.

Castle acknowledged that she saw police presence inside and around the Capitol but minimized

her observation by claiming there were only a few of them. She denied observing violence when

she was walking into the Capitol, but it is clear that mere minutes before she entered the Capitol,

rioters broke the window adjacent to the Senate Wing Door where Castle entered. Castle heard the

alarms ringing inside of the building. Instead of using that opportunity to exit, Castle continued to

walk through the building and took photos and videos of the rioters inside the Capitol. 5 Castle and

her sister DiFrancesco walked upstairs and downstairs between the first-floor lobby, the Crypt, the

Visitor Center, and the Senate Wing Door. They both had multiple ways and opportunities to exit,

but chose to stay inside the Capitol, despite knowing they were not supposed to be there.




5
 Attached please find a video labeled “Exh 4 – Castle Video,” which is a video Castle took of
other rioters, found on her phone by the FBI during the execution of the search warrant.
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         Accordingly, the nature and the circumstances of this offense establish the clear need for a

sentence of 30 days’ incarceration, 36 months’ probation, 60 hours of community service, and

$500 in restitution in this matter.

            B. The History and Characteristics of Castle

         As set forth in the PSR, Castle does not have any criminal history and she has been

compliant with the conditions of her pre-trial release. The PSR does not indicate that Castle has

any health problems (PSR ¶ 37), or any drug or alcohol problems (PSR ¶¶ 40-41). Also, the PSR

does not suggest that Castle was mentally and/or emotionally incapable of avoiding her criminal

conduct (PSR ¶ 39); instead, she knowingly chose to engage in the criminal conduct discussed

above.

            C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
               and Promote Respect for the Law

         The attack on the U.S. Capitol building and grounds was an attack on the rule of law. As

with the nature and circumstances of the offense, this factor supports a sentence of incarceration,

as it will in most cases, including misdemeanor cases, arising out of the January 6 riot. See United

States v. Joshua Bustle and Jessica Bustle, 21-cr-238-TFH, Tr. 08/24/21 at 3 (“As to probation, I

don't think anyone should start off in these cases with any presumption of probation. I think the

presumption should be that these offenses were an attack on our democracy and that jail time is

usually -- should be expected”) (statement of Judge Hogan).

            D. The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

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       General Deterrence

        The need for general deterrence weighs heavily in favor of incarceration in nearly every

case arising out of the violent riot at the Capitol. Indeed, general deterrence may be the most

compelling reason to impose a sentence of incarceration. “Future would-be rioters must be

deterred.” (statement of Judge Nichols at sentencing, United States v. Thomas Gallagher, 1:21-

CR-00041 Tr. 10/13/2021 at 37).

       General deterrence is an important consideration because many of the rioters intended that

their attack on the Capitol would disrupt, if not prevent, one of the most important democratic

processes we have: the peaceful transfer of power to a newly elected President.

       The gravity of these offenses demands deterrence. See United States v. Mariposa Castro,

1:21-cr-00299 (RBW), Tr. 2/23/2022 at 41-42 (“But the concern I have is what message did you

send to others? Because unfortunately there are a lot of people out here who have the same mindset

that existed on January 6th that caused those events to occur. And if people start to get the

impression that you can do what happened on January 6th, you can associate yourself with that

behavior and that there's no real consequence, then people will say why not do it again.”). This

was not a protest. See United States v. Paul Hodgkins, 21-cr-188-RDM, Tr. at 46 (“I don’t think

that any plausible argument can be made defending what happened in the Capitol on January 6th

as the exercise of First Amendment rights.”) (statement of Judge Moss). And it is important to

convey to future potential rioters—especially those who intend to improperly influence the

democratic process—that their actions will have consequences. There is possibly no greater factor

that this Court must consider.

       Specific Deterrence




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       Castle’s actions on January 6, 2021, indicate the need for a sentence that provides specific

deterrence as well. Castle entered the Capitol building, walked past police officers in riot gear and

shattered glass; spent nearly 40 minutes inside traveling to various locations throughout the

building; took photos and videos while inside the building; left only after being tear gassed;

proceeded to stay outside on Capitol grounds for over an hour afterwards; and deleted photos and

other information from her phone related to January 6. This behavior indicates not a momentary

lapse in judgement, but an alarming systematic disregard of warning signs and the struggles that

officers faced on that day. The fact that Castle stayed on the Capitol grounds for over an hour after

exiting the building, adding to officers’ difficulties in clearing the Capitol grounds, is particularly

troublesome in light of Castle receiving assistance from an officer inside the Capitol building when

she was tear gassed right before going outside. As indicated above, the PSR does not suggest that

Castle was mentally and/or emotionally incapable of avoiding her criminal conduct (PSR ¶ 39);

instead, she knowingly chose to engage in the criminal conduct discussed above. Castle’s list of

poor and reckless decisions that day was so lengthy that it is clear that a sentence involving

incarceration is needed to successfully deter Castle from such thoughtless behavior in the future.

           E. The Need to Avoid Unwarranted Sentencing Disparities

       As the Court is aware, the government has charged hundreds of individuals for their roles

in this one-of-a-kind assault on the Capitol, ranging from unlawful entry misdemeanors, such as

in this case, to assault on police officers, to conspiracy to corruptly interfere with Congress. 6 This




6
   Attached to this supplemental sentencing memorandum is a table providing additional
information about the sentences imposed on other Capitol breach defendants. That table also shows
that the requested sentence here would not result in unwarranted sentencing disparities.

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Court must sentence Castle based on her own conduct and relevant characteristics, but should give

substantial weight to the context of her unlawful conduct: her participation in the January 6 riot.

       Castle has pleaded guilty to Count One of the Information, charging her with Parading,

Demonstrating, or Picketing in any of the Capitol buildings in violation of 40 U.S.C.

§ 5104(e)(2)(G). This offense is a Class B misdemeanor. 18 U.S.C. § 3559. Certain Class B and C

misdemeanors and infractions are “petty offenses,” 18 U.S.C. § 19, to which the Sentencing

Guidelines do not apply, U.S.S.G. §1B1.9. The sentencing factors set forth in 18 U.S.C. § 3553(a),

including “the need to avoid unwarranted sentence disparities among defendants with similar

records who have been found guilty of similar conduct,” 18 U.S.C. § 3553(6), do apply, however.

       Section 3553(a)(6) of Title 18 directs a sentencing court to “consider … the need to avoid

unwarranted sentence disparities among defendants with similar records who have been found

guilty of similar conduct.” Section 3553(a)(6) does not limit the sentencing court’s broad

discretion under 18 U.S.C. § 3553(a) “to impose a sentence sufficient, but not greater than

necessary, to comply with the purposes set forth in paragraph (2) of this subsection.” 18 U.S.C.

§ 3553(a). Although unwarranted disparities may “result when the court relies on things like

alienage, race, and sex to differentiate sentence terms,” a sentencing disparity between defendants

whose differences arise from “legitimate considerations” such as a “difference[] in types of

charges” is not unwarranted. United States v. Bridgewater, 950 F.3d 928, 936 (7th Cir. 2020).

       “Congress’s primary goal in enacting § 3553(a)(6) was to promote national uniformity in

sentencing rather than uniformity among co-defendants in the same case.” United States v. Parker,

462 F.3d 273, 277 (3d Cir. 2006). “[A] defendant cannot rely upon § 3553(a)(6) to seek a reduced

sentence designed to lessen disparity between co-defendants’ sentences.” Consequently, Section

3553(a)(6) neither prohibits nor requires a sentencing court “to consider sentencing disparity



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among codefendants.” Id. Plainly, if Section 3553(a)(6) is not intended to establish sentencing

uniformity among codefendants, it cannot require uniformity among all Capitol siege defendants

charged with petty offenses, as they share fewer similarities in their offense conduct than

codefendants do. See United States v. Smocks, D.D.C. 21-cr-198 (TSC), Sent. Tr. at 48-49 (“With

regard to the need to avoid sentence disparity, I find that this is a factor, although I have found in

the past and I find here that the crimes that occurred on January 6 are so unusual and unprecedented

that it is very difficult to find a proper basis for disparity.”) (statement of Judge Chutkan).

       Cases involving convictions only for Class B misdemeanors (petty offenses) are not subject

to the Sentencing Guidelines, so the Section 3553(a) factors take on greater prominence in those

cases. Sentencing judges and parties have tended to rely on other Capitol siege petty offense cases

as the closest “comparators” when assessing unwarranted disparity. But nothing in Section

3553(a)(6) requires a court to mechanically conform a sentence to those imposed in previous cases,

even those involving similar criminal conduct and defendant’s records. After all, the goal of

minimizing unwarranted sentencing disparities in Section 3553(a)(6) is “only one of several

factors that must be weighted and balanced,” and the degree of weight is “firmly committed to the

discretion of the sentencing judge.” United States v. Coppola, 671 F.3d 220, 254 (2d Cir. 2012).

The “open-ended” nature of the Section 3553(a) factors means that “different district courts may

have distinct sentencing philosophies and may emphasize and weigh the individual § 3553(a)

factors differently; and every sentencing decision involves its own set of facts and circumstances

regarding the offense and the offender.” United States v. Gardellini, 545 F.3d 1089, 1093 (D.C.

Cir. 2008). “[D]ifferent district courts can and will sentence differently—differently from the

Sentencing Guidelines range, differently from the sentence an appellate court might have imposed,

and differently from how other district courts might have sentenced that defendant.” Id. at 1095.



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It follows that a sentencing court in a Capitol siege petty offense case is not constrained by

sentences previously imposed in other such cases. See United States v. Stotts, D.D.C. 21-cr-272

(TJK), Nov. 9, 2021 Sent. Hrg. Tr. at 33-34 (“I certainly have studied closely, to say the least, the

sentencings that have been handed out by my colleagues. And as your attorney has pointed out,

you know, maybe, perhaps not surprisingly, judges have taken different approaches to folks that

are roughly in your shoes.”) (statement of Judge Kelly).

       Additionally, logic dictates that whether a sentence creates a disparity that is unwarranted

is largely a function of the degree of the disparity. Differences in sentences measured in a few

months are less likely to cause an unwarranted disparity than differences measured in years. For

that reason, a permissible sentence imposed for a petty offense is unlikely to cause an unwarranted

disparity given the narrow range of permissible sentences. The statutory range for a petty offense

is zero to six months. Given that narrow range, a sentence of six months, at the top of the statutory

range, will not create an unwarranted disparity with a sentence of probation only, at the bottom.

See United States v. Servisto, D.D.C. 21-cr-320 (ABJ), Dec. 15, 2021 Sent. Hrg. Tr. at 23-24 (“The

government is trying to ensure that the sentences reflect where the defendant falls on the spectrum

of individuals arrested in connection with this offense. And that’s largely been accomplished

already by offering a misdemeanor plea, which reduces your exposure substantially.”) (statement

of Judge Berman Jackson); United States v. Dresch, D.D.C. 21-cr-71 (ABJ), Aug. 4, 2021 Sent.

Hrg. Tr. at 34 (“Ensuring that the sentence fairly reflects where this individual defendant falls on

the spectrum of individuals arrested in connection with the offense has largely been accomplished

by the offer of the misdemeanor plea because it reduces his exposure substantially and

appropriately.”) (statement of Judge Berman Jackson); United States v. Peterson, D.D.C. 21-cr-

309, Sent. Hrg. Tr. at 26 (statement of Judge Berman Jackson) (similar).



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       While no previously sentenced case contains the same balance of aggravating and

mitigating factors present here, other judges of this court have sentenced Capitol breach defendants

who witnessed violence and/or chaos before entering the Capitol building, who entered the Capitol

through locations where there was obvious damage (including shattered glass), such as the Senate

Wing Door; or who spent significant time inside the Capitol and took photos and videos while

inside. A defendant who enters the Capitol shortly after it was breached and stays within the

Capitol for a longer amount of time, is in a more serious category of offenders than defendants

who were not in the first wave of rioters or defendants who walked in and immediately walked out

of the Capitol. An unauthorized individual inside the Capitol for a longer period of time poses a

greater threat and creates a greater impediment to members of Congress and staffers just trying to

do their jobs than would a trespasser walking out immediately.

       In United States v. Brian Stenz, 21-cr-00456 (BAH), the defendant pled guilty to the same

misdemeanor charge here, 40 U.S.C. § 5104(e)(2)(G). Similar to Defendant Castle here, Stenz

chaos before entering the Capitol building (seeing blood in a fountain, rioters hanging from

scaffolding, and people breaking windows), entered the Capitol building through the Senate Wing

Door while passing shattered glass, and took photographs while inside. Stenz also briefly entered

Senators Merkley’s office, which Defendant Castle did not do here; however, Castle entered the

Senate Wing Doors shortly after the initial breach (while Stenz did not enter until approximately

an hour after that breach), and Castle spent almost 40 minutes inside the Capitol building (while

Stenz spent only about eight minutes inside). Chief Judge Howell sentenced Stenz to 14 days’

incarceration and two months’ home detention as a condition of a 36 months’ probation.




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        Like Stenz, Defendant Castle entered the Capitol through the Senate Wing Door only

minutes after it was initially breached. Like Stenz, Castle knew that she was not supposed to enter

the Capitol but still entered.

        In United States v. Savannah McDonald, 1:21-CR-00429, the defendant also pled guilty to

a misdemeanor charge of 40 U.S.C. § 5104(e)(2)(G). Similar to Defendant Castle here, McDonald

spent time on the West Front of the Capitol grounds and observed violence before entering the

Capitol building; experienced being tear gassed and remained on Capitol grounds (McDonald was

tear gassed three times before entering the Capitol building); entered near the Senate Wing Door

(through the Senate Fire Door which had been opened shortly before by two rioters who had

entered through the Senate Wing Door); remained inside for approximately 40 minutes; took and

sent videos on January 6th through her Snapchat account; and attempted to delete photos, videos,

and/or other information related to January 6 (she sent a Snapchat message to a private group

requesting that anyone who was sent materials regarding January 6th delete them). This Court

imposed a sentence of 21 days' incarceration in that case.

        In any event, the goal of minimizing unwarranted sentencing disparities in § 3553(a)(6) is

“only one of several factors that must be weighted and balanced,” and the degree of weight is

“firmly committed to the discretion of the sentencing judge.” United States v. Coppola, 671 F.3d

220, 254 (2d Cir. 2012). The § 3553(a) factors that this Court assesses are “open-ended,” with the

result that “different district courts may have distinct sentencing philosophies and may emphasize

and weigh the individual § 3553(a) factors differently; and every sentencing decision involves its

own set of facts and circumstances regarding the offense and the offender.” United States v.

Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently—differently from the Sentencing Guidelines range, differently from the sentence an



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appellate court might have imposed, and differently from how other district courts might have

sentenced that defendant.” Id. at 1095.

    V.      A Sentence Imposed For a Petty Offense May Include Both Incarceration and
            Probation.

         A. Relevant Background

         In 1984, Congress enacted the Sentencing Reform Act, which in substantial part remains

the sentencing regime that exists today. See Pub. L. No. 98–473, §§211-212, 98 Stat 1837 (1984),

codified at 18 U.S.C. § 3551 et seq.; see Mistretta v. United States, 488 U.S. 361, 365-66 (1989)

(noting that the Sentencing Reform Act of 1984 wrought “sweeping changes” to federal criminal

sentencing). That legislation falls in Chapter 227 of Title 18, which covers “Sentences.” Chapter

227, in turn, consists of subchapter A (“General Provisions”), subchapter B (“Probation”),

subchapter C (“Fines”), and subchapter D (“Imprisonment). Two provisions—one from

subchapter A and one from subchapter B—are relevant to the question of whether a sentencing

court may impose a term of continuous incarceration that exceeds two weeks 7 followed by a term

of probation.

         First, in subchapter A, 18 U.S.C. § 3551 sets out “[a]uthorized sentences.” Section 3551(a)

makes clear that a “defendant who has been found guilty of” any federal offense “shall be

sentenced in accordance with the provisions of” Chapter 227 “[e]xcept as otherwise specifically

provided.” 18 U.S.C. § 3551(a). Section 3551(b) provides that a federal defendant shall be

sentenced to “(1) a term of probation as authorized by subchapter B; (2) a fine as authorized by

subchapter C; or (3) a term of imprisonment as authorized by subchapter D.” 18 U.S.C. § 3551(b). 8


7
 A period of incarceration that does not exceed two weeks followed by a term of probation is also
permissible under 18 U.S.C. § 3653(b)(10). See Part II infra.
8
 Section 3551(b) further provides that a sentencing judge may impose a fine “in addition to any
other sentence.” 18 U.S.C. § 3551(b).

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As a general matter, therefore, “a judge must sentence a federal offender to either a fine, a term of

probation, or a term of imprisonment.” United States v. Kopp, 922 F.3d 337, 340 (7th Cir. 2019).

       Second, 18 U.S.C. § 3561, the first provision in subchapter B, addresses a “[s]entence of

probation.” As initially enacted, Section 3561 provided that a federal defendant may be sentenced

to a term of probation “unless . . . (1) the offense is a Class A or Class B felony and the defendant

is an individual; (2) the offense is an offense for which probation has been expressly precluded; or

(3) the defendant is sentenced at the same time to a term of imprisonment for the same or a different

offense.” Pub. L. No. 98-473, at § 212; see United States v. Anderson, 787 F. Supp. 537, 539 (D.

Md. 1992) (noting that the Sentencing Reform Act did not permit “a period of ‘straight’

imprisonment . . . at the same time as a sentence of probation”).

       Congress, however, subsequently amended Section 3561(a)(3). In 1991, Congress

considered adding the following sentence to the end of Section 3561(a)(3): “However, this

paragraph does not preclude the imposition of a sentence to a term of probation for a petty offense

if the defendant has been sentenced to a term of imprisonment at the same time for another such

offense.” H.R. Rep. 102-405, at 167 (1991). Instead, three years later Congress revised Section

3561(a)(3) by appending the phrase “that is not a petty offense” to the end of the then-existing

language. See H.R. Rep. No. 103-711, at 887 (1994) (Conference Report). In its current form,

therefore, Section 3561(a)(3) provides that a defendant “may be sentenced to a term of probation

unless . . . the defendant is sentenced at the same time to a term of imprisonment for the same or a

different offense that is not a petty offense.” 18 U.S.C. § 3561(a)(3).

       B. Analysis

       Before Congress passed the Sentencing Reform Act of 1984, sentencing courts could

impose a split sentence on a federal defendant in certain cases. See United States v. Cohen, 617



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F.2d 56, 59 (4th Cir. 1980) (noting that a sentencing statute enacted in 1958 had as its “primary

purpose . . . to enable a judge to impose a short sentence, not exceeding sixth months, followed by

probation on a one count indictment”); see also United States v. Entrekin, 675 F.2d 759, 760-61

(5th Cir. 1982) (affirming a split sentence of six months’ incarceration followed by three years of

probation). In passing the Sentencing Reform Act, Congress sought generally to abolish the

practice of splitting a sentence between imprisonment and probation because “the same result”

could be accomplished through a “more direct and logically consistent route,” namely the use of

supervised release as set out in 18 U.S.C. §§ 3581 and 3583. S. Rep. No. 225, 1983 WL 25404,

at *89; accord United States Sentencing Guidelines (“U.S.S.G.” or “Guidelines”) § 5B1.1,

Background. But Congress’s 1994 amendment to Section 3561(a)(3) reinstated a sentencing

court’s authority to impose a split sentence for a petty offense.

       Under 18 U.S.C. § 3561, a defendant “may be sentenced to a term of probation unless . . .

the defendant is sentenced at the same time to a term of imprisonment for the same or a different

offense that is not a petty offense.” 18 U.S.C. § 3561(a)(3). Thus, for any federal offense other

than a petty offense, Section 3561(a)(3) prohibits “imposition of both probation and straight

imprisonment,” consistent with the general rule in Section 3551(b). United States v. Forbes, 172

F.3d 675, 676 (9th Cir. 1999); see United States v. Martin, 363 F.3d 25, 31 (1st Cir. 2004); United

States v. Harris, 611 F. App’x 480, 481 (9th Cir. 2015); Anderson, 787 F. Supp. at 539.

       But the statutory text of 18 U.S.C. § 3561(a)(3) goes further by permitting a court to

sentence a defendant to a term of probation “unless” that defendant “is sentenced at the same

time to a term of imprisonment for the same or a different offense that is not a petty offense.” 18

U.S.C. § 3561(a)(3). Section 3561 “begins with a grant of authority”—permitting a court to

impose probation—followed by a limitation in the words following “unless.” Little, 2022 WL



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768685, at *4. But that limitation “does not extend” to a defendant sentenced to a petty offense.

See id. (“[W]hile a defendant’s sentence of a term of imprisonment may affect a court's ability to

impose probation, the petty-offense clause limits this exception.”).

       It follows that when a defendant is sentenced for a petty offense, that defendant may be

sentenced to a period of continuous incarceration and a term of probation. See United States v.

Posley, 351 F. App’x 807, 809 (4th Cir. 2009) (per curiam). In Posley, the defendant, convicted of

a petty offense, was sentenced to two years of probation with the first six months in prison. Id. at

808. In affirming that sentence, the Fourth Circuit concluded that Section 3561(a)(3)

“[u]nquestionably” provided statutory authority to sentence the petty-offense defendant to “a term

of six months of continuous imprisonment plus probation.” Id. at 809; see Cyclopedia of Federal

Procedure, § 50:203, Capacity of court to impose probationary sentence on defendant in

conjunction with other sentence that imposes term of imprisonment (3d ed. 2021) (“[W]here the

defendant is being sentenced for a petty offense, a trial court may properly sentence such individual

to a term of continuous imprisonment for a period of time, as well as a sentence of probation.”)

(citing Posley); see also Wright and Miller, Federal Practice and Procedure, § 547, at n.13 (4th

ed. 2021) (“A defendant may be sentenced to probation unless he . . . is sentenced at the same time

to imprisonment for an offense that is not petty.”) (emphasis added).

       Nor does the phrase “that is not a petty offense” in Section 3561(a)(3) modify only

“different offense.” See Little, 2022 WL 768685, at *5-*6 (concluding that “same” in Section

3561(a)(3) functions as an adjective that modifies “offense”). Section 3561(a)(3) does not state

“the same offense or a different offense that is not a petty offense,” which would imply that the

final modifier—i.e., “that is not a petty offense”—applies only to “different offense.” The phrase

“that is not a petty offense” is a postpositive modifier best read to apply to the entire, integrated



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phrase “the same or a different offense.” See Antonin Scalia & Bryan A. Garner, Reading Law:

The Interpretation of Legal Texts 148 (2012). Had Congress sought to apply the phrase “not a

petty offense” solely to “different offense,” the “typical way in which syntax would suggest no

carryover modification” would be some language that “cut[s] off the modifying phrase so its

backward reach is limited.” Id. at 148-49. And while the indefinite article “a” might play that role

in other contexts (e.g., “either a pastry or cake with icing” vs. “either a pastry or a cake with icing”),

the indefinite article in Section 3561(a)(3) merely reflects the fact that the definite article before

“same” could not naturally apply to the undefined “different offense.” See Little, 2022 WL 768685,

at *6 (identifying other statutes and “legal contexts” with the identical phrase that carry the same

interpretation).

        Permitting a combined sentence of continuous incarceration and probation for petty

offenses is sensible because sentencing courts cannot impose supervised release on petty-offense

defendants. See 18 U.S.C. § 3583(b)(3); United States v. Jourdain, 26 F.3d 127, 1994 WL 209914,

at *1 (8th Cir. 1994) (unpublished) (plain error to impose a term of supervised release for a petty

offense). When Congress in 1994 amended the language in Section 3561(a), it again provided

sentencing courts with “latitude,” see S. Rep. 98-225, 1983 WL 25404, at *89, to ensure some

degree of supervision—through probation—following incarceration.

        Section 3551(b)’s general rule that a sentencing court may impose either imprisonment or

probation (but not both) does not preclude a sentencing court from imposing a split sentence under

Section 3561(a)(3) for a petty offense for two related reasons.

        First, the more specific permission for split sentences in petty offense cases in Section

3561(a)(3) prevails over the general prohibition on split sentences in Section 3551(b). See Morton

v. Mancari, 417 U.S. 535, 550-51 (1974) (“Where there is no clear intention otherwise, a specific



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statute will not be controlled or nullified by a general one.”). As noted above, when Congress

enacted the general prohibition on split sentences in Section 3551(b), it had not yet enacted the

more specific carveout for split sentences in petty offense cases in Section 3561(a)(3). That

carveout does not “void” the general prohibition on split sentences in Section 3551(b); rather,

Section 3551(b)’s general prohibition’s “application to cases covered by the specific provision [in

Section 3651(a)(3)] is suspended” as to petty offense cases. Scalia & Garner, supra, at 184. In

other words, Section 3551(b)’s prohibition against split sentences “govern[s] all other cases” apart

from a case involving a petty offense. Id. This interpretation, moreover, “ensures that all of

Congress’s goals set forth in the text are implemented.” Little, 2022 WL 768685, at *8.

        Second, to the extent Section 3551(b)’s general prohibition against split sentences conflicts

with Section 3561(a)(3)’s permission for split sentences in petty offense cases, the latter, later-

enacted provision controls. See Posadas v. Nat’l Bank of N.Y., 296 U.S. 497, 503 (1936) (“Where

provisions in the two acts are in irreconcilable conflict, the later act to the extent of the conflict

constitutes an implied repeal of the earlier one.”); Scalia & Garner, supra, at 327-329. Where a

conflict exists “between a general provision and a specific one, whichever was enacted later might

be thought to prevail.” Id. at 185. “The “specific provision”—here Section 3561(a)(3)—“does not

negate the general one entirely, but only in its application to the situation that the specific provision

covers.” Id. Section 3551(b)’s general prohibition does not operate against the more specific, later-

enacted carveout for split sentences in Section 3561(a)(3).

        An interpretation of Sections 3551(b) and 3561(a) that a sentencing court “must choose

between probation and imprisonment when imposing a sentence for a petty offense,” United States

v. Spencer, No. 21-cr-147 (CKK), Doc. 70, at 5 (Jan. 19, 2022), fails to accord the phrase “that is

not a petty offense” in Section 3561(a)(3) any meaning. When Congress in 1994 amended Section



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3561(a)(3) to include that phrase, it specifically permitted a sentencing court in a petty offense

case to deviate from the otherwise applicable general prohibition on combining continuous

incarceration and probation in a single sentence. Ignoring that amended language would

improperly fail to “give effect to every clause and word” of Section 3561(a)(3). Marx v. Gen.

Revenue Corp., 568 U.S. 371, 385 (2013).

       Congress’s unenacted language from 1991 does not suggest that a split sentence is available

only where a defendant is sentenced at the same time for two different petty offenses or for two

offenses, at least one of which is a petty offense. For one thing, the Supreme Court has regularly

rejected arguments based on unenacted legislation given the difficulty of determining whether a

prior bill prompted objections because it went too far or not far enough. See Mead Corp. v. Tilley,

490 U.S. 714, 723 (1989) (“We do not attach decisive significance to the unexplained

disappearance of one word from an unenacted bill because ‘mute intermediate legislative

maneuvers’ are not reliable indicators of congressional intent.”) (citation omitted). Moreover,

under that view, every offense other than a petty offense could include some period of

incarceration and some period of supervision (whether that supervision is supervised release or

probation). Yet so long as a defendant was convicted of two petty offenses, that defendant could

be sentenced to incarceration and supervision (in the form of probation). No sensible penal policy

supports that interpretation.

       It follows that a sentencing court may impose a combined sentence of incarceration and

probation where, as here, the defendant is convicted of a petty offense. Castle and DiFrancesco

pleaded guilty to one count of 40 U.S.C. § 5104(e)(2)(G): Parading, Demonstrating, or Picketing

in the Capitol Building, which is a “petty offense” that carries a maximum penalty that does not

exceed six months in prison and a $5,000 fine. See 18 U.S.C. § 19; see United States v. Soderna,



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82 F.3d 1370, 1381 n.2 (7th Cir. 1996) (Kanne, J., concurring) (citations omitted) (noting that a

petty offender may face a sentence of up to five years in probation).

    VI.      A Sentence of Probation May Include Incarceration as a Condition of Probation,
             Though Logistical and Practical Reasons May Militate Against Such a Sentence
             During an Ongoing Pandemic.

          A. Relevant background

          In 18 U.S.C. § 3563, Congress set out “[c]onditions of probation.” 18 U.S.C. § 3563.

Among the discretionary conditions of probation, a sentencing court may impose is a requirement

that a defendant

             remain in the custody of the Bureau of Prisons during nights, weekends or other
             intervals of time, totaling no more than the lesser of one year or the term of
             imprisonment authorized for the offense, during the first year of the term of
             probation or supervised release.

18 U.S.C. § 3563(b)(10). Congress enacted this provision to give sentencing courts “flexibility” to

impose incarceration as a condition of probation in one of two ways. S. Rep. No. 225, 1983 WL

25404, at *98. First, a court can direct that a defendant be confined in “split intervals” over

weekends or at night. Id. Second, a sentencing court can impose “a brief period of confinement”

such as “for a week or two.” Id. 9

          B. Analysis

          A sentencing court may impose one or more intervals of imprisonment up to a year (or the

statutory maximum) as a condition of probation, so long as the imprisonment occurs during

“nights, weekends or other intervals of time.” 18 U.S.C. § 3653(b)(10). Although the statute does

not define an “interval of time,” limited case law suggests that it should amount to a “brief period”


9
  Section 3563(b)(10)’s legislative history notes that imprisonment as a term of probation was “not
intended to carry forward the split sentence provided in Section 3561, by which the judge imposes
a sentence of a few months in prison followed by probation.” S. Rep. No. 225, 1983 WL 25404,
at *98.

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of no more than a “week or two” at a time. United States v. Mize, No. 97-40059, 1998 WL 160862,

at *2 (D. Kan. Mar. 18, 1998) (quoting Section 3563(b)(10)’s legislative history described above

and reversing magistrate’s sentence that included 30-day period of confinement as a condition of

probation); accord United States v. Baca, No. 11-1, 2011 WL 1045104, at *2 (C.D. Cal. Mar. 18,

2011) (concluding that two 45-day periods of continuous incarceration as a condition of probation

was inconsistent with Section 3563(b)(10)); see also Anderson, 787 F. Supp. at 538 (continuous

60-day incarceration not appropriate as a condition of probation); Forbes, 172 F.3d at 676 (“[S]ix

months is not the intermittent incarceration that this statute permits.”). Accordingly, a sentence of

up to two weeks’ imprisonment served in one continuous term followed by a period of probation

is permissible under Section 3563(b)(10). 10

       A sentencing court may also impose “intermittent” confinement as a condition of probation

to be served in multiple intervals during a defendant’s first year on probation. 18 U.S.C.

§ 3563(b)(10); see Anderson, 787 F. Supp. at 539. Notwithstanding a sentencing court’s legal

authority to impose intermittent confinement in this manner, the government has refrained from

requesting such a sentence in Capitol breach cases given the potential practical and logistical

concerns involved when an individual repeatedly enters and leaves a detention facility during an

ongoing global pandemic. Those concerns would diminish if conditions improve or if a given

facility is able to accommodate multiple entries and exits without unnecessary risk of exposure.




10
   Section 3563(b)(10)’s use of the plural to refer to “nights, weekends, or intervals of time” does
not imply that a defendant must serve multiple stints in prison. Just as “words importing the
singular include and apply to several persons, parties, or things,” “words importing the plural
include the singular.” 1 U.S.C. § 1; see Scalia & Garner, supra, at 129-31.
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   VII.     Conclusion

       Sentencing requires the Court to carefully balance the § 3553(a) factors. Balancing these

factors, the government recommends that this Court sentence Castle to 30 days’ incarceration, 36

months’ probation, 60 hours of community service, and $500 in restitution. Such a sentence

protects the community, promotes respect for the law, and deters future crime by imposing

restrictions on her liberty as a consequence of her behavior, while recognizing her acceptance of

responsibility for her crime.

                                            Respectfully submitted,


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                              CERTIFICATE OF SERVICE

        On this 15th day of November 2022, a copy of the foregoing was served upon all parties
listed on the Electronic Case Filing (ECF) System.



                                                  ____________________________
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